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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

MYRON NEWJEAN ANDERSON JR.                                            PLAINTIFF
ADC #123288

v.                            No: 4:20-cv-00932 JM-PSH

JAMES SHIPMAN, et al.                                             DEFENDANTS


                                       JUDGMENT

       Pursuant to the order filed this date, judgment is entered dismissing this case without

prejudice.

       IT IS SO ORDERED, this 19th day of October, 2020.



                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
